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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           :
RACHEL RIENDEAU                            :             CIVIL ACTION
    Plaintiff,                             :
                                           :
       v.                                  :             No. 23-cv-3250
                                           :
DELAWARE VALLEY                            :
UNIVERSITY, et al.,                        :
     Defendants.                           :

                                  SCHEDULING ORDER


       AND NOW, this 23rd day of May, 2024, it is ORDERED that a teleconference is

scheduled in the above-captioned matter on June 18, 2024 at 2:00 P.M. The call-in information

will be emailed to counsel by chambers.


                                                  BY THE COURT:

                                                  /s/ Craig M. Straw
                                                  CRAIG M. STRAW
                                                  U.S. MAGISTRATE JUDGE
